                                                                                    Case 2:16-cv-06800-JFW-SS Document 21 Filed 12/12/16 Page 1 of 12 Page ID #:270



                                                                                              1   VENABLE LLP
                                                                                                  Douglas C. Emhoff (SBN 151049)
                                                                                              2   demhoff@venable.com
                                                                                                  Tamany Vinson Bentz (SBN 258600)
                                                                                              3   tjbentz@venable.com
                                                                                                  Matthew J. Busch (SBN 307396)
                                                                                              4   mjbusch@venable.com
                                                                                                  2049 Century Park East, Suite 2300
                                                                                              5   Los Angeles, CA 90067
                                                                                                  Telephone: (310) 229-9900
                                                                                              6   Facsimile: (310) 229-9901
                                                                                              7   Attorneys for Plaintiff Jukin Media,
                                                                                                  Inc.
                                                                                              8

                                                                                              9                      UNITED STATES DISTRICT COURT
                                                                                             10              FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                                                                             11
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                                  JUKIN MEDIA, INC., a California          CASE NO. 2:16-cv-06800-JFW (SSx)
                                                                                             12   corporation,
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                                                                           Hon. John F. Walter
                                                                                             13                            Plaintiff,
                                                                              310-229-9900




                                                                                             14                      v.                    JOINT RULE 26(F) REPORT
                                                                                             15   QWORLDSTAR, INC., a California           Scheduling Conference
                                                                                                  corporation, d/b/a Worldstar,
                                                                                             16   Worldstar Hip Hop, Worldstar Candy,      Date:           December 19, 2016
                                                                                                  and/or Worldstar Agency, and DOES 1
                                                                                             17   through 10,                              Time:           8:30 a.m.
                                                                                                                                           Courtroom:      7A
                                                                                             18                            Defendants.
                                                                                             19                                            Action Filed:      September 9, 2016
                                                                                             20                                            Trial Date:        Not set
                                                                                             21

                                                                                             22

                                                                                             23

                                                                                             24

                                                                                             25

                                                                                             26
                                                                                             27

                                                                                             28

                                                                                              1                                JOINT RULE 26(f) REPORT
                                                                                              2
                                                                                    Case 2:16-cv-06800-JFW-SS Document 21 Filed 12/12/16 Page 2 of 12 Page ID #:271



                                                                                              1              Pursuant to Fed. R. Civ. P. 26(f), Local Rule 26-1, and the Court’s Order
                                                                                              2   Setting Scheduling Conference, counsel for Plaintiff Jukin Media, Inc. (“Plaintiff”
                                                                                              3   or “Jukin”) and Defendant QWorldstar, Inc. (“Defendant”) participated in a
                                                                                              4   telephonic conference on November 21, 2016, and hereby submit the following
                                                                                              5   Joint Rule 26(f) Report.
                                                                                              6              Lead trial counsel for Plaintiff, Tamany Vinson Bentz, also confirms that
                                                                                              7   she is a registered “ECF User,” and that her “E-mail address of record” is
                                                                                              8   tjbentz@venable.com. Lead trial counsel for Defendant, Douglas L. Johnson, also
                                                                                              9   confirms that he is a registered “ECF User,” and that his “E-mail address of
                                                                                             10   record” is djohnson@jjllplaw.com.
                                                                                             11   I.    JURISDICTION, VENUE AND SERVICE OF PARTIES
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                             12         Plaintiff’s Complaint arises in part under the Copyright Act, 17 U.S.C. §
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                             13   101 et seq. Accordingly, this Court has subject matter jurisdiction pursuant to 28
                                                                              310-229-9900




                                                                                             14   U.S.C. §§ 1331, 1338, and 1367. No issues exist regarding personal jurisdiction or
                                                                                             15   venue. At this point in time, Plaintiff is not aware of additional parties that need to
                                                                                             16   be served.
                                                                                             17   II.   BRIEF CHRONOLOGY OF FACTS AND STATEMENT OF
                                                                                             18         PRINCIPAL FACTUAL ISSUES IN DISPUTE
                                                                                             19         A.      Jukin’s Position
                                                                                             20         Jukin is a digital media company that provides content and licensing
                                                                                             21   resources for internet video content and has a library of over 30,000 pieces of
                                                                                             22   original user-generated content. Jukin invests in substantial research and analytical
                                                                                             23   efforts to discover videos that it believes may be valuable and interesting to the
                                                                                             24   public. Jukin then either licenses or acquires the right to use the videos, or portions
                                                                                             25   thereof, in various commercial applications. Jukin often acquires these rights on an
                                                                                             26   exclusive basis. Jukin monetizes these videos through advertising revenue and by
                                                                                             27   licensing to various distribution channels for use in advertisements, entertainment
                                                                                             28
                                                                                                                                          1
                                                                                              1                                 JOINT RULE 26(f) REPORT
                                                                                              2
                                                                                    Case 2:16-cv-06800-JFW-SS Document 21 Filed 12/12/16 Page 3 of 12 Page ID #:272



                                                                                              1   productions, news programs, and other productions desirous of short-form content.
                                                                                              2         Jukin has become a market leader in the discovery, acquisition,
                                                                                              3   monetization, licensing, and distribution of short-form viral video content. Among
                                                                                              4   other things, Jukin offers a proprietary platform that allows its partners access to its
                                                                                              5   library for use in various commercial applications. It also offers curated video
                                                                                              6   collections via its themed YouTube channels and content-focused websites, and
                                                                                              7   independently produces or coproduces content displayed on various means of
                                                                                              8   media distribution. In addition, Jukin employs a rights management team to
                                                                                              9   actively mitigate the effects of lost revenue to its video owners by seeking licenses
                                                                                             10   or advertising revenue monetization from infringing parties.
                                                                                             11         Defendants operate websites at www.worldstarhiphop.com,
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                             12   www.worldstaruncut.com, and www.worldstarcandy.com that display articles,
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                             13   photographs, and videos uploaded by Defendants’ staff. Defendants also display
                                                                              310-229-9900




                                                                                             14   videos from their Facebook, Instagram and Twitter accounts (collectively, “the
                                                                                             15   Worldstar Social Media Accounts”).
                                                                                             16         Defendants have and continue to willfully infringe Jukin’s rights by copying
                                                                                             17   videos acquired or licensed by Jukin (“Jukin Original Videos”) without permission
                                                                                             18   or any license to do so. Defendants are solely responsible for selecting the videos
                                                                                             19   to be posted on Worldstarhiphop.com and the Worldstar Social Media Accounts.
                                                                                             20   While Defendants accept user generated video submissions, users cannot post
                                                                                             21   videos to Worldstarhiphop.com, and the Worldstar Social Media Accounts. While
                                                                                             22   Jukin has sent Defendants numerous take-down requests, Defendants have
                                                                                             23   continued their unlawful conduct unabated. By early September 2016, Defendants
                                                                                             24   had infringed at least 39 registered and 250 unregistered Jukin Original Videos.
                                                                                             25         Based on the foregoing, on September 9, 2016, Plaintiff filed the instant
                                                                                             26   action for copyright infringement to enforce its copyrights in hundreds of videos
                                                                                             27   that were posted to Worldstarhiphop.com or used in Defendant’s other digital
                                                                                             28
                                                                                                                                          2
                                                                                              1                                 JOINT RULE 26(f) REPORT
                                                                                              2
                                                                                    Case 2:16-cv-06800-JFW-SS Document 21 Filed 12/12/16 Page 4 of 12 Page ID #:273



                                                                                              1   properties. Plaintiff additionally brought a claim for trademark infringement due
                                                                                              2   to Defendants’ reproduction of Plaintiff’s federally registered FAILARMY
                                                                                              3   trademark in a manner that creates a likelihood of confusion, mistake, or deception
                                                                                              4   as to the affiliation, connection, or association, of Defendants with Jukin, or as to
                                                                                              5   the origin, sponsorship, or approval of Defendants’ websites and/or videos by
                                                                                              6   Jukin. As detailed in the pleadings, as a result of Defendant’s unlawful conduct,
                                                                                              7   Jukin is suffering lost revenue from loss of licensing fees, and decreased
                                                                                              8   monetization via YouTube viewers diverted to Defendant’s site, among other
                                                                                              9   things.
                                                                                             10         The filing of the instant action has not impeded Defendants’ infringing
                                                                                             11   conduct. Since Jukin filed its initial complaint, on September 9, 2016, Defendants
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                             12   have engaged in over 40 additional acts of infringement. Jukin reserves the right to
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                             13   further amend its complaint to capture these additional infringements.
                                                                              310-229-9900




                                                                                             14         The principal factual issues in dispute are as follows: (1) whether
                                                                                             15   Defendants copied the Jukin Original Videos; and (2) whether Defendants
                                                                                             16   reproduced Jukin’s federally registered trademark.
                                                                                             17             B.   Defendant’s Position
                                                                                             18         This lawsuit involves 39 videos that Defendant QWorldstar, Inc. has
                                                                                             19   allegedly infringed. QWorldstar operates websites at www.worldstarhiphop.com,
                                                                                             20   www.worldstaruncut.com, and www.worldstarcandy.com that display articles,
                                                                                             21   photographs, and videos. QWorldstar also has related social media accounts
                                                                                             22   (Facebook, Instagram and Twitter) under the Worldstar Hip Hop banner
                                                                                             23   (collectively, “the Worldstar Social Media Accounts”). QWorldstar’s websites and
                                                                                             24   Worldstar Social Media Accounts display articles, photographs, and videos
                                                                                             25   uploaded for submission by third parties. QWorldstar also displays articles,
                                                                                             26   photographs, and videos obtained by its staff.
                                                                                             27         QWorldstar believes that the principal factual issues in dispute on the
                                                                                             28
                                                                                                                                          3
                                                                                              1                                 JOINT RULE 26(f) REPORT
                                                                                              2
                                                                                    Case 2:16-cv-06800-JFW-SS Document 21 Filed 12/12/16 Page 5 of 12 Page ID #:274



                                                                                              1   copyright claim are (1) whether Jukin owns rights to the so called Jukin Original
                                                                                              2   Videos, and (2) if so, whether Jukin properly and timely registered the so-called
                                                                                              3   Jukin Original Videos so as to have statutory copyright protection entitling Jukin to
                                                                                              4   recover attorneys’ fees and/or statutory damages for any videos that were
                                                                                              5   infringed. In the absence of statutory protection, it is unlikely that Jukin’s
                                                                                              6   recoverable damages will be significant because the actual profits stemming from
                                                                                              7   the videos is minimal. QWorldstar believes the principal factual issues in dispute
                                                                                              8   on the trademark claim are whether (1) Jukin’s trademark has federal protection,
                                                                                              9   (2) QWorldstar used Jukin’s trademark, (3) there was any confusion resulting from
                                                                                             10   use, and (4) Jukin suffered any cognizable damages from an infringing use.
                                                                                             11   III.    DISPUTED POINTS OF LAW
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                             12           A.    Jukin’s Position
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                             13           There is no dispute that if Plaintiff can demonstrate that Defendants copied
                                                                              310-229-9900




                                                                                             14   the Jukin Original Videos then Defendants have infringed Jukin’s copyright in the
                                                                                             15   Original Videos in violation of at least Sections 106 and 501 of the Copyright Act,
                                                                                             16   17 U.S.C. by copying videos owned or exclusively licensed by Jukin without a
                                                                                             17   license or permission. Likewise, there is no dispute that if Plaintiff can
                                                                                             18   demonstrate that Defendants used in commerce a FAILARMY trademark that is
                                                                                             19   identical to Plaintiff’s federally registered FAILARMY trademark then
                                                                                             20   Defendants’ actions constitute trademark infringement in violation of 15 U.S.C. §
                                                                                             21   1114.
                                                                                             22           B.    Defendant’s Position
                                                                                             23           QWorldstar does not believe there are any disputed issues of law at the
                                                                                             24   present time, but discovery might prove otherwise.
                                                                                             25   IV.     PRIOR, PENDING, AND ANTICIPATED MOTIONS
                                                                                             26           The parties do not currently intend to file any motions seeking to add other
                                                                                             27   parties or claims or transfer venue. Jukin intends to file a motion for summary
                                                                                             28
                                                                                                                                          4
                                                                                              1                                 JOINT RULE 26(f) REPORT
                                                                                              2
                                                                                    Case 2:16-cv-06800-JFW-SS Document 21 Filed 12/12/16 Page 6 of 12 Page ID #:275



                                                                                              1   judgment or partial summary judgment. QWorldstar intends to file a motion for
                                                                                              2   summary judgment or partial summary judgment.
                                                                                              3   V.    AMENDMENTS
                                                                                              4         Jukin reserves the right to file a further amended complaint based on
                                                                                              5   additional infringements by Defendant.
                                                                                              6         Defendant does not contemplate any amendments to its Answer at this time.
                                                                                              7         Plaintiff proposes that the cut-off to add parties and/or amend the pleadings
                                                                                              8   (including the hearing on any motion to amend) be March 20, 2017, except where
                                                                                              9   otherwise ordered by the Court. Defendant proposes that the cut-off for any of
                                                                                             10   Plaintiff’s proposed amendments be January 3, 2016, which is 14 days from the
                                                                                             11   Scheduling Conference.
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                             12   VI.   INITIAL DISCLOSURES
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                             13         The parties’ Rule 26(f) status conference took place on November 21, 2016.
                                                                              310-229-9900




                                                                                             14   Pursuant to Fed. R. Civ. P. 26(a)(1)(C), the last day for the parties to exchange
                                                                                             15   their initial disclosures is December 16, 2016. Plaintiff and Defendants will timely
                                                                                             16   exchange their respective initial disclosures and fully comply with Fed. R. Civ. P.
                                                                                             17   26. The parties will each present responsive information regarding the names and
                                                                                             18   contact information for witnesses as well as information regarding the category and
                                                                                             19   location of documents, electronic discovery, and tangible things. Both parties
                                                                                             20   believe that the calculation of damages is premature, and neither party is aware of
                                                                                             21   any insurance coverage at issue at this time.
                                                                                             22   VII. DISCOVERY AND PROPOSED DISCOVERY PLAN
                                                                                             23         Discovery Taken to Date: No discovery has been conducted thus far.
                                                                                             24         Scope of Anticipated Discovery: The Parties anticipate deposing the
                                                                                             25   individuals and entities disclosed in their respective initial disclosures, which will
                                                                                             26   be exchanged on or before December 16, 2016. The Parties further plan to depose
                                                                                             27   other yet unnamed percipient witnesses, and to depose the expert witnesses whose
                                                                                             28
                                                                                                                                          5
                                                                                              1                                 JOINT RULE 26(f) REPORT
                                                                                              2
                                                                                    Case 2:16-cv-06800-JFW-SS Document 21 Filed 12/12/16 Page 7 of 12 Page ID #:276



                                                                                              1   testimony is disclosed pursuant to Rule 26(a)(2). The Parties anticipate
                                                                                              2   propounding document requests which are directed at the Subjects of Discovery
                                                                                              3   outlined below. The Parties also expect to propound interrogatories that will
                                                                                              4   primarily address the opposing party’s legal and factual contentions.
                                                                                              5   Proposed Discovery Plan pursuant to Fed. R. Civ. P. 26(f):
                                                                                              6         A.     Depositions and Written Discovery
                                                                                              7                i.    Plaintiff’s Position
                                                                                              8         Jukin anticipates taking the deposition of Defendants’ corporate
                                                                                              9   representative pursuant to Fed. R. Civ. P. 30(b)(6). In addition, Jukin intends to
                                                                                             10   take the depositions of employees of Defendants responsible for selecting and
                                                                                             11   posting videos on Worldstarhiphop.com and the Worldstar Social Media Accounts.
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                             12         Jukin anticipates serving requests for admission, document requests, and
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                             13   interrogatories.
                                                                              310-229-9900




                                                                                             14         Jukin will conduct discovery on all of its allegations and claims against
                                                                                             15   Defendants, as well as Defendants’ affirmative defenses thereto, namely:
                                                                                             16   Defendant’s profits resulting from its copying and use of the Jukin Original
                                                                                             17   Videos; Defendants’ policies and practices regarding selecting videos for posting
                                                                                             18   on Worldstarhiphop.com and the Worldstar Social Media Accounts, including by
                                                                                             19   its own staff; Defendants’ selection and posting of the Jukin Original Videos on
                                                                                             20   Worldstarhiphop.com and the Worldstar Social Media Accounts; Defendants’
                                                                                             21   knowledge of Jukin’s rights in the Jukin Original Videos; take down notices sent to
                                                                                             22   Defendants in connection with its copying and posting of videos on
                                                                                             23   Worldstarhiphop.com and any of its other platforms; Defendants’ copying of
                                                                                             24   videos belonging to anyone other than Jukin; as well as the communications and
                                                                                             25   documents relating to Defendants, including videos posted on
                                                                                             26   Worldstarhiphop.com and the Worldstar Social Media Accounts. This is not an
                                                                                             27   exhaustive list, and Plaintiff may seek discovery on additional topics as warranted
                                                                                             28
                                                                                                                                         6
                                                                                              1                                JOINT RULE 26(f) REPORT
                                                                                              2
                                                                                    Case 2:16-cv-06800-JFW-SS Document 21 Filed 12/12/16 Page 8 of 12 Page ID #:277



                                                                                              1   by the litigation.
                                                                                              2                          i. Defendant’s Position
                                                                                              3          QWorldstar anticipates taking the deposition of Jukin’s corporate
                                                                                              4   representative pursuant to Fed. R. Civ. P. 30(b)(6) on a number of topics of
                                                                                              5   examination.
                                                                                              6          QWorldstar anticipates serving requests for admission, document requests,
                                                                                              7   and interrogatories.
                                                                                              8          QWorldstar will conduct discovery on all of Jukin’s allegations and claims,
                                                                                              9   as well as QWorldstar’s affirmative defenses, including: whether Jukin owns rights
                                                                                             10   to the so called Jukin Original Videos, how and when Jukin acquired the rights,
                                                                                             11   whether Jukin properly and timely registered the so-called Jukin Original Videos
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                             12   so as to have statutory copyright protection entitling Jukin to recover attorneys’
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                             13   fees and/or statutory damages for any videos that were infringed. This is not an
                                                                              310-229-9900




                                                                                             14   exhaustive list, and QWorldstar may seek discovery on additional topics as
                                                                                             15   warranted by the litigation.
                                                                                             16          B.     Electronically Stored Information (“ESI”)
                                                                                             17          The parties do not anticipate a significant volume of ESI. The parties agree
                                                                                             18   to comply with the rules for electronic production consistent with the Federal
                                                                                             19   Rules of Civil Procedure. In addition, the parties intend to prepare an agreed upon
                                                                                             20   set of instructions with respect to electronic productions.
                                                                                             21          The parties currently anticipate the need for certain electronically stored
                                                                                             22   information relating to Defendant’s digital properties and the infringed videos and
                                                                                             23   the Jukin Original Videos.
                                                                                             24          C.     Additional Issues Related to Discovery
                                                                                             25          The parties are of the view that discovery should take place pursuant to the
                                                                                             26   Federal Rules of Civil Procedure and should not be limited or conducted in phases,
                                                                                             27   except as provided by the Federal Rules of Civil Procedure or the Local Rules of
                                                                                             28
                                                                                                                                            7
                                                                                              1                                   JOINT RULE 26(f) REPORT
                                                                                              2
                                                                                    Case 2:16-cv-06800-JFW-SS Document 21 Filed 12/12/16 Page 9 of 12 Page ID #:278



                                                                                              1   the Central District of California.
                                                                                              2         The parties do not propose that discovery be conducted in phases or limited
                                                                                              3   to or focused on particular issues. The parties agree that no changes are necessary
                                                                                              4   to the limitations on discovery in the Federal Rules or in the Local Rules, but if
                                                                                              5   such changes are necessary, they will address them with the Court.
                                                                                              6         At this time, the parties do not seek any supplemental orders under Rule
                                                                                              7   16(b) or (c), but reserve the right to seek such orders should they become
                                                                                              8   necessary. The parties anticipate preparing and executing a two-tier protective
                                                                                              9   order pursuant to Rule 26(c) which shall be presented to the Court in due course.
                                                                                             10   VIII. RELATED CASES OR PROCEEDINGS
                                                                                             11         There are no related cases or proceedings pending before another judge of
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                             12   this court, or before another court or administrative body.
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                             13   IX.   RELIEF SOUGHT IN THE COMPLAINT
                                                                              310-229-9900




                                                                                             14         Jukin seeks redress for Defendant’s willful, intentional, and purposeful use
                                                                                             15   and exploitation of the Jukin Original Videos for its own benefit with full
                                                                                             16   knowledge that such use constituted infringement of Jukin’s rights. In particular,
                                                                                             17   Jukin seeks an injunction, damages (including statutory damages), an accounting
                                                                                             18   of Defendant’s profits attributable to its infringements of Jukin’s copyrights and
                                                                                             19   trademark, and attorneys’ fees and costs. The realistic amount of provable
                                                                                             20   damages is in excess of $1 million.
                                                                                             21   X.    CERTIFICATION OF INTERESTED PARTIES OR PERSONS
                                                                                             22         Jukin has filed the “Certification of Interested Parties or Persons” required
                                                                                             23   by the Local Rules, and has identified no such parties or persons.
                                                                                             24         QWorldstar has filed the “Certification of Interested Parties or Persons”
                                                                                             25   required by the Local Rules.
                                                                                             26   XI.   COMPLETION OF DISCOVERY, HEARING OF MOTIONS,
                                                                                             27         PRETRIAL CONFERENCE, AND TRIAL DATE
                                                                                             28
                                                                                                                                           8
                                                                                              1                                  JOINT RULE 26(f) REPORT
                                                                                              2
                                                                              Case 2:16-cv-06800-JFW-SS Document 21 Filed 12/12/16 Page 10 of 12 Page ID #:279



                                                                                              1                    Matter                         The Parties’ Proposal
                                                                                              2    Discovery Cut-Off                         May 30, 2017
                                                                                              3    Motion Hearing Cut-Off                    August 15, 2017
                                                                                              4    Final Pre-Trial Conference                October 9. 2017
                                                                                              5    Trial Date                                November 7, 2017
                                                                                              6   XII. JURY TRIAL AND TIME ESTIMATE FOR TRIAL
                                                                                              7         At this time, the parties contemplate a four (4) day trial by jury. Jukin
                                                                                              8   intends to call between four (4) and six (6) witnesses.
                                                                                              9         QWorldstar intends to call between three and five witnesses at trial based on
                                                                                             10   what is presently known.
                                                                                             11   XIII. SETTLEMENT EFFORTS
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                             12         The parties have engaged in good faith settlement discussions and continue
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                             13   to engage in settlement discussions. If the parties are unable to resolve this matter
                                                                              310-229-9900




                                                                                             14   among themselves, the parties agree to hold settlement discussions before a
                                                                                             15   magistrate judge or private mediator pursuant to Local Rule 16-15.4, to take place
                                                                                             16   by March 31, 2017.
                                                                                             17   XIV. MANUAL FOR COMPLEX LITIGATION
                                                                                             18         This is not a complex case, and the procedures of the Manual for Complex
                                                                                             19   Litigation need not be utilized.
                                                                                             20   XV. DISPOSITIVE MOTIONS
                                                                                             21         The parties each intend to file a motion for summary judgment or partial
                                                                                             22   summary judgment.
                                                                                             23   XVI. UNUSUAL LEGAL ISSUES
                                                                                             24         At this point, there do not appear to be any unusual legal issues.
                                                                                             25   XVII. PROPOSALS REGARDING SEVERANCE, BIFURCATION OR
                                                                                             26         OTHER ORDERING OF PROOF
                                                                                             27         At this time, the Parties do not anticipate seeking severance and/or
                                                                                             28
                                                                                                                                          9
                                                                                              1                                 JOINT RULE 26(f) REPORT
                                                                                              2
                                                                              Case 2:16-cv-06800-JFW-SS Document 21 Filed 12/12/16 Page 11 of 12 Page ID #:280



                                                                                              1   bifurcation of triable issues. The Parties reserve their right, however, to make a
                                                                                              2   motion for severance/bifurcation should such a motion be appropriate in the future.
                                                                                              3

                                                                                              4
                                                                                                  Dated: December 12, 2016                VENABLE LLP
                                                                                              5

                                                                                              6                                           By: /s/ Tamany Vinson Bentz
                                                                                                                                             Douglas C. Emhoff
                                                                                              7
                                                                                                                                             Tamany Vinson Bentz
                                                                                              8                                              Matthew J. Busch
                                                                                              9
                                                                                                                                             Attorneys for Plaintiff Jukin Media,
                                                                                                                                             Inc.
                                                                                             10

                                                                                             11
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                             12   Dated: December 12, 2016                JOHNSON & JOHNSON, LLP
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                             13
                                                                              310-229-9900




                                                                                                                                          By: /s/ Jordanna G. Thigpen
                                                                                             14                                              Neville L. Johnson
                                                                                             15                                              Douglas L. Johnson
                                                                                                                                             James T. Ryan
                                                                                             16                                              Jordanna G. Thigpen
                                                                                             17                                              Attorneys for Defendant QWorldstar,
                                                                                                                                             Inc.
                                                                                             18

                                                                                             19
                                                                                             20

                                                                                             21

                                                                                             22

                                                                                             23

                                                                                             24

                                                                                             25

                                                                                             26
                                                                                             27

                                                                                             28
                                                                                                                                        10
                                                                                              1                               JOINT RULE 26(f) REPORT
                                                                                              2
                                                                              Case 2:16-cv-06800-JFW-SS Document 21 Filed 12/12/16 Page 12 of 12 Page ID #:281



                                                                                              1                              SIGNATURE CERTIFICATION
                                                                                              2             I am the ECF User whose identification and password are being used to file
                                                                                              3   the foregoing JOINT RULE 26(f) REPORT. In compliance with the General
                                                                                              4   Order, I hereby attest that the other signatories to this filing have concurred in this
                                                                                              5   filing.
                                                                                              6

                                                                                              7
                                                                                                  Dated: December 12, 2016                   VENABLE LLP
                                                                                              8

                                                                                              9                                              By: /s/ Tamany Vinson Bentz
                                                                                                                                                Douglas C. Emhoff
                                                                                             10
                                                                                                                                                Tamany Vinson Bentz
                                                                                             11                                                 Matthew J. Busch
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                             12
                                                                                                                                                Attorneys for Plaintiff Jukin Media,
                                                    LOS ANG ELES, CA 900 67




                                                                                                                                                Inc.
VENABLE LLP




                                                                                             13
                                                                              310-229-9900




                                                                                             14

                                                                                             15

                                                                                             16

                                                                                             17

                                                                                             18

                                                                                             19
                                                                                             20

                                                                                             21

                                                                                             22

                                                                                             23

                                                                                             24

                                                                                             25

                                                                                             26
                                                                                             27

                                                                                             28
                                                                                                                                            11
                                                                                              1                                   JOINT RULE 26(f) REPORT
                                                                                              2
